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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Kraft Foods Global, Inc., et al.
                                         Plaintiff,
v.                                                         Case No.: 1:11−cv−08808
                                                           Honorable Steven C. Seeger
United Egg Producers, Inc., et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, December 1, 2023:


         MINUTE entry before the Honorable Steven C. Seeger: For the reasons stated on
the record during the pretrial conference on November 28, 2023, Plaintiffs' motion to limit
any testimony by Dr. Walker in the damages phase (Dckt. No [568]) is hereby denied
without prejudice. Basically, this Court will allow Dr. Walker (Defendants' expert) to
testify consistent with his report, to the extent that Dr. Walker's testimony is responsive to
the testimony of Dr. Baye (Plaintiffs' expert). Mailed notice(jjr, )




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